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Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
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June 24, 2019 | NORTHERN DISTRICT OF TEXAS
FILED
Clerk
United States Court of Appeals for the Fifth Circuit : JUN 25 2019
600 S. Maestri Place
New Orleans, LA 70130 CLE
Re: Travis Trevino Runnels ae
v. Lorie Davis, Director, Texas Department of Criminal Justice,
Correctional Institutions Division
No. 18-8440
(Your No. 17-70031)
Dear Clerk:

The Court today entered the following order in the above-entitled case:

The motion of respondent for leave to file a brief in opposition under
seal with redacted copies for the public record is granted. The motion of
petitioner for leave to file a reply brief under seal with redacted copies for the
public record is granted. The petition for a writ of certiorari is denied.

Sincerely,

Kull &. Hows

Scott S. Harris, Clerk

 
